Case 1:23-cv-00108-LMB-JFA Document 161 Filed 04/27/23 Page 1 of 3 PageID# 1177




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 UNITED STATES, et al.,

                              Plaintiffs,                 Civil Action No.
                                                          1:23-cv-00108-LMB-JFA
               v.

 GOOGLE LLC,

                             Defendant.



    DEFENDANT GOOGLE LLC’S NOTICE OF SUPPLEMENTAL AUTHORITY IN
                 SUPPORT OF ITS MOTION TO DISMISS

          Defendant Google LLC (“Google”) submits this notice to advise the Court of the

 following recent supplemental authority in support of Google’s pending Motion to Dismiss, ECF

 Nos. 72-73: New York v. Meta Platforms, Inc., No. 1:20-cv-03589, slip op. (D.C. Cir. Apr. 27,

 2023).    This authority is relevant to Google’s argument that its DoubleClick and Admeld

 acquisitions should not be considered part of a “‘course of conduct’” alongside later allegedly

 anticompetitive acts. Compare Reply Br. at 13, with Meta Platforms, slip op. at 23 n.13

 (rejecting “the States’ argument that the Instagram and WhatsApp acquisitions . . . are part of a

 ‘course of conduct’” for the reasons stated by the district court (citing New York v. Facebook

 Inc., 549 F. Supp. 3d 6, 44-48 (D.D.C. 2021)). This authority is also relevant to Google’s

 argument that its alleged restriction of Google Ads demand to Google’s products should be

 analyzed as a refusal to deal. Compare Reply Br. at 16-17, with Meta Platforms, slip op. at 30

 (rejecting challenge to a policy restricting competitor access to Facebook’s own platform, noting

 that it presented “nothing like” the situation in Lorain Journal) and 32-34 (“The States’ basic
Case 1:23-cv-00108-LMB-JFA Document 161 Filed 04/27/23 Page 2 of 3 PageID# 1178




 allegation – that Facebook ‘cut off’ competitors from “access to . . . [Facebook’s] immensely

 valuable network,” thus amounts to a ‘claim based upon the defendant’s refusal to cooperate with

 its competitor[s].’” (citation omitted)).

        This decision is attached hereto as Exhibit A.

  Dated: April 27, 2023                        Respectfully submitted,

                                               /s/ Eric Mahr
                                               Eric Mahr (pro hac vice)
                                               FRESHFIELDS BRUCKHAUS
                                               DERINGER US LLP
                                               700 13th Street NW, 10th Floor
                                               Washington, DC 20005
                                               Telephone: (202) 777-4500
                                               Facsimile: (202) 777-4555
                                               Email: eric.mahr@freshfields.com

                                               Daniel S. Bitton (pro hac vice)
                                               AXINN, VELTROP & HARKRIDER LLP
                                               55 2nd Street
                                               San Francisco, CA 94105
                                               Telephone: (415) 490-2000
                                               Facsimile: (415) 490-2001
                                               dbitton@axinn.com

                                               Bradley Justus (VSB # 80533)
                                               Koren Wong-Ervin (pro hac vice)
                                               1901 L Street NW
                                               Washington, DC 20036
                                               Telephone: (202) 912-4700
                                               Facsimile: (202) 912-4701
                                               Email: bjustus@axinn.com
                                               kwongervin@axinn.com

                                               Craig C. Reilly (VSB # 20942)
                                               THE LAW OFFICE OF CRAIG C. REILLY
                                               209 Madison Street
                                               Alexandria, VA 22314
                                               Telephone: (703) 549-5354
                                               Facsimile: (703) 549-5355
                                               Email: Craig.reilly@ccreillylaw.com

                                               Counsel for Google LLC
Case 1:23-cv-00108-LMB-JFA Document 161 Filed 04/27/23 Page 3 of 3 PageID# 1179




                                   CERTIFICATE OF SERVICE

         I hereby certify that on April 27, 2023, I electronically filed the foregoing Notice of

 Supplemental Authority with the Clerk of the Court using the CM/ECF system, which will send

 a notification of such filing to all counsel of record.


                                                           /s/ Craig C. Reilly
                                                           Craig C. Reilly (VSB # 20942)
                                                           209 Madison Street
                                                           Alexandria, VA 22314
                                                           Telephone: (703) 549-5354
                                                           Facsimile: (703) 549-5355
                                                           Email: Craig.reilly@ccreillylaw.com
